CM/ECF-GA Northern District Court                                  https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?222516448975953-...
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                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION
                                                  1:21-cr-00143-ELR-CCB
                                                         USA v. Hill
                                                 Honorable Eleanor L. Ross

                                Minute Sheet for proceedings held In Open Court on 10/14/2022.


              TIME COURT COMMENCED: 9:30 A.M.
                                                                  COURT REPORTER: Elizabeth Cohn
              TIME COURT CONCLUDED: 3:50 P.M.
                                                                  CSO/DUSM: CSO R. Meadows; CSO Kirk
              TIME IN COURT: 5:00
                                                                  DEPUTY CLERK: Michelle Beck
              OFFICE LOCATION: Atlanta

         DEFENDANT(S):              [1]Victor Hill Present at proceedings
         ATTORNEY(S)                Lynsey Barron representing Victor Hill
         PRESENT:                   Drew Findling representing Victor Hill
                                    Marissa Goldberg representing Victor Hill
                                    Brent Gray representing USA
                                    Bret Hobson representing USA
         PROCEEDING
                                    Jury Trial Continued;
         CATEGORY:
         MINUTE TEXT:               Court called to order. Also present during the criminal trial were FBI
                                    Special Agents Andrew Marc Benjamin, Josh Berrios, and Angel Reyes
                                    (with the Government) and Alexis Alzadeh (with the Defense). Court
                                    addressed issues with the parties. Court called to order. Government
                                    witnesses: Jessie Curney, Lewis Lyons, Karon Clayborn, Desmond Bailey,
                                    Tarshell Cummings, Eugene Peterkin, Candace Blythe, Stephen Robinson
                                    and Anthony Tigner were sworn and provided testimony. Government
                                    exhibit #s: 34, 40, 42-45, 55, 56 (CD), 102 and 103 were ADMITTED.
                                    Defense exhibit #3 was ADMITTED. Jurors released for the day with the
                                    usual precautions given by the Court. Court adjourned.
         HEARING STATUS:            Hearing not concluded. Court adjourned and will reconvene at October 17,
                                    2022 at 9:30am. Jurors excused until the above time under the usual
                                    caution of the Court.
         TRIAL STATUS:              Evidence Entered, Continued
         EXHIBIT STATUS:            Exhibits retained by the Court to be forwarded to the Clerks Office.




1 of 1                                                                                                            10/17/2022, 9:38 AM
